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                              IN THE UNITED STATES DISTRICT COURT
                                                                                            CLLhrv,      UlS IHICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA                                    NORFOLK, VA
                                       NORFOLK DIVISION

         CENTRIPETAL NETWORKS, INC.,

           Plaintiff                                           Civil Action No. 2:18-cv-00094-HCM-LRL

              V.



     CISCO SYSTEMS, INC.,

           Defendant




                                  PROPOSED JOINT PRETRIAL ORDER

             Plaintiff Centripetal Networks, Inc. ("Centripetal") and Defendant Cisco Systems, Inc.

    ("Cisco") submit the following proposed Final Pretrial Order pursuant to the Court's Order at Dkt.

    No. 297, Federal Rules of Civil Procedure, and Local Rules of this Court. The parties have

    stipulated as to various matters identified herein and having identified exhibits, witnesses, factual

    contentions and triable issues:

             It is hereby ORDERED as follows:

    I.       STIPULATION OF UNDISPUTED FACTS

             The parties agree that the following facts are stipulated as undisputed for purposes of this

    litigation. The parties' statement of stipulation of undisputed facts will become a part of the

    evidentiary record in the case:

             1.        This Court has jurisdiction over the parties and all claims and defenses in this

    action and is a proper venue.

             2.        Centripetal is a corporation duly organized and existing under the laws of the

    State of Delaware, with its principal place of business in Hemdon, Virginia.
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           3.      Defendant Cisco is a California Corporation with its principal place of business at

    170 West Tasman Drive, San Jose, California 95134.

           4.      On February 13,2018, Centripetal filed the Complaint asserting Cisco's

    infringement of U.S. Patent No. 9,686,193("the '193 Patent"); U.S. Patent No.9,560,176 ("the

    '176 Patent"); U.S. Patent No. 9,560,077("the '077 Patent"); U.S. Patent No.9,413,722("the

    '722 Patent"); U.S. Patent No. 9,203,806("the '806 Patent"); U.S. Patent No.9,160,713 ("the

    '713 Patent"); U.S. Patent No. 9,124,552("the '552 Patent"); U.S. Patent No. 9,565,213("the

    '213 Patent"); U.S. Patent No.9,137,205 ("the '205 Patent"); and U.S. Patent No.9,674,148

    ("the '148 Patent").

           5.      On March 29, 2018, Centripetal filed the Amended Complaint to add an assertion

    of infringement of U.S. Patent No. 9,917,856 ("the '856 Patent").

           6.      Cisco filed a number of petitions for inter partes review ("IPR")of some ofthe

    patents asserted against it and filed for a Motion to Stay Pending Resolution ofIPR Proceedings

    and the Court granted the stay on February 25,2019. (Dkt. No. 58).

           7.     On September 18, 2019,the Court issued an order, lifting the stay in part with

    respect to patents and claims not currently subject to IPR proceedings. (Dkt. No. 68).

           8.     Centripetal is asserting that Cisco infringes Claims 63 and 77 ofthe '205 Patent,

    Claims 9 and 17 ofthe '806 Patent, Claims 11 and 21 of the '176 Patent, Claims 18 and 19 of the

    '193 Patent and Claims 24 and 25 ofthe '856 Patent(the "Asserted Claims").

           9.     On September 15, 2015,the U.S. Patent and Trademark Office("PTO")issued

    the '205 Patent entitled "Methods and Systems for Protecting A Secured Network."

           10.    The application for the '205 Patent was filed on October 22, 2012, as Application

    No. 13/657,010.
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            11.    The '205 Patent expires on October 22,2032.

            12.    On December 1, 2015, the PTO issued the '806 Patent entitled "Rule Swapping in

    A Packet Network."

            13.    The application for the '806 Patent was filed on January 11, 2013, as Application

    No. 13/739,178.

            14.    The '806 Patent expires on December 10,2033.

            15.    On January 31, 2017,the PTO issued the'176 Patent entitled "Correlating

    Packets in Communications Networks."

            16.    The application for the '176 Patent was filed on May 15,2015 as Application No.

    14/714,207.

            17.    The'176 Patent expires on February 10,2035.

            18.    On June 20,2017, the PTO issued the'193 Patent entitled "Filtering Network

    Data Transfers."

           19.    The application for the '193 Patent was filed on February 18,2015 as Application

    No. 14/625,486.

           20.    The'193 Patent expires on March 12, 2033.

           21.    On March 13, 2018, the PTO issued the '856 Patent entitled "Rule-Based

    Network-Threat Detections for Encrypted Communications."

           22.    The application for '856 Patent was filed on December 23,2015, as Application

    No. 14/757,638.

           23.    The '856 Patent expires on December 23, 2035.

           24.    Centripetal asserts it is the owner of the '205,'806,'193,'176 and '856 Patents

    ("Asserted Patents").
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            25.    After Centripetal filed its Complaint, Cisco filed petitions for IPR of all ofthe

    claims of nine ofthe 11 patents-in-suit, including the Asserted Claims ofthe '205 Patent,'176

    Patent, and '193 Patent.

           26.     Cisco did not file petitions for IPR regarding the '806 Patent and '856 Patent.

           27.     The U.S. Patent Trial & Appeal Board("PTAB")denied institution of IPR ofthe

    Asserted Claims over the prior art asserted by Cisco in its Petitions.

           28.     The PTAB denied Cisco's Requests for Rehearing of Petitions for IPR ofthe

    Asserted Claims ofthe '205 Patent,'176 Patent, and '193 Patent.

           29.     Ofthe claims not at issue for the upcoming bench trial, the PTAB granted

    institution ofIPR of all of the claims of U.S. Patent Nos. 9,124,552 (the'"552 Patent"),

    9,160,713(the '"713 Patent"), 9,565,213(the '"213 Patent"), 9,674,148 (the'"148 Patent"),

    9,560,077(the '"077 Patent"), and 9,413,722(the '"722 Patent") and granted institution ofIPR

    ofclaims of the '205 Patent that are not the subject ofthe upcoming bench trial.

           30.     The PTAB has, thus far, invalidated all ofthe claims ofthe '552 Patent,'713

    Patent,'213 Patent,'148 Patent, and '077 Patent, invalidated the unasserted claims of the '205

    Patent, and is scheduled to issue a decision regarding all ofthe claims of the '722 Patent no later

    than May 20, 2020. Centripetal has appealed or will be appealing the PTAB decisions regarding

    the '552 Patent,'713 Patent,'213 Patent,'148 Patent,'077 Patent, and unasserted claims ofthe

    '205 Patent.

    II.    GENERAL STIPULATIONS

           A. Trial Phases

           The parties have agreed on the order that trial will follow, as set forth below:

                   (1)    Centripetal's Case-in-Chief on Infringement, Willfulness and Damages;
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                   (2)     Defendants' Rebuttal on Infringement, Willfulness and Damages, and

    Defendants' Case-in-Chief on Invalidity;

                   (3)     Centripetal's Rebuttal on Invalidity

           B. Exhibits


                   1.      Exhibit Lists


           The parties have segregated the documents, summaries and other exhibits that may be

    offered into evidence at trial into exhibit lists. A joint Exhibit List, including documents identified

    by both parties and not objected to, is attached as Exhibit A; Centripetal's Exhibit List and

    Defendants' objections thereto are attached as Exhibit B; Defendants' Exhibit List and

    Centripetal's objections thereto are attached as Exhibit C. The parties reserve the right to object

    to any additional documents sought to be added to the Exhibit Lists and further reserve the right

    to object to any additional documents added to the Exhibit Lists under the Federal Rules of

    Evidence, the Federal Rules of Civil Procedure, or any other appropriate basis.

                   2. Efforts to Resolve Objections

           The parties have been working diligently to resolve or narrow all objections lodged as to

    their respective exhibits. The parties have successfully resolved many objections and will continue

    their efforts to resolve the objections to each other's proposed exhibits.

                   3. Exhibits to Which No Objections Have Been Made

           The parties agree that the documents, summaries and other exhibits listed on their Exhibit

    Lists to which no objection has been specified may be introduced into evidence, without the

    necessity offurther proof of admissibility through a witness,subject to foundational requirements,

    provided that a witness offers testimony about the exhibit at trial, either live or by deposition. This
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    is without prejudice to motions in limine and Daubert motions concerning certain of these

    documents and related testimony.

                   4. Cross Examination and Impeachment Exhibits

           The Exhibit Lists set forth the parties' exhibits for their respective cases-in-chief; the lists

    do not include potential cross examination or impeachment exhibits that may or may not be

    introduced into evidence. The Exhibits Lists also include documents relied upon by experts in

    rendering opinions which may or may not be introduced into evidence. The parties reserve the

    right to offer exhibits for purposes of impeachment that are not included in the Exhibit Lists.

                   5. Authenticity Stipulations For Exhibits

           The Parties stipulate to the authenticity ofeach document that on its face appears to be

    generated by a party (plaintiff or defendant), including documents generated by its employees

    during the course oftheir employment for a party, and produced in this case by that

    party. Notwithstanding this stipulation, each party preserves its right to object to the document

    on any ground other than authenticity.

           C. Procedures Regarding Witnesses and Exhibits

           The parties are required to disclose the expected order in which the witnesses will be called,

    and use good faith in identifying non-demonstrative exhibits that are intended to be used in the

    direct testimony of each witness or as part of opening statements. Each party must identify to

    opposing counsel the identity ofany live witnesses to be called at trial(and the order in which they

    will be called) by no later than 6:30 p.m.' three(3)calendar days before the trial day on which that

    witness is expected to testify (e.g., witnesses to be called on Tuesday must be disclosed by 6:30

    p.m. the preceding Saturday).



     All times identified herein are Eastern Time.
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            Except for when a fact witness is testifying during trial, fact witnesses are not permitted to

    witness or have access to the trial proceedings in any manner until after that fact witness has

    completed all testimony that witness will provide at trial. The only exception is the parties' client

    representative, who will be allowed to witness and have access to the trial proceedings, even if

    testifying in the case.     Expert witnesses may have access to the trial proceedings while other

    witnesses are testifying.

            Any exhibits to be used on direct examination with any live witness must be identified by

    no later than 7 p.m.two(2)calendar days before the start ofthe trial day on which that exhibit will

    be offered (e.g., the exhibit(s) for witnesses to be called on Tuesday must be disclosed by 7 p.m.

    the preceding Sunday). Objections to exhibits disclosed by a party must be provided by 8 p.m.

    two (2) calendar days before the start of the trial day on which that exhibit will be offered (e.g.,

    objections to exhibits for witnesses to be called on Tuesday must be provided by 8 p.m. the

    preceding Sunday). The parties will each designate one or more counsel who shall meet and confer

    regarding any such objections by 8:30 p.m. on the day when the objections are provided. The

    notice provisions above shall not apply to illustrative exhibits created in the virtual courtroom

    during testimony or to the enlargement, highlighting, ballooning, excerpting, etc. of trial exhibits,

    demonstratives, or testimony, so long as the underlying exhibit is pre-admitted or the party has

    identified the exhibit or deposition testimony according to the agreed schedule.

           The parties will cooperate in seeking to have the Court resolve any objections they are

    unable to resolve among themselves prior to the proposed testimony. Each party will deliver

    exhibits to the Court that it anticipates using on direct examination by 9 a.m. ET the day of the

    direct examination in the form of a witness binder. Each party will deliver exhibits to the Court
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    that it anticipates using on cross-examination by 9 a.m. ET the day ofthe cross-examination, and

    to opposing counsel by e-mail prior to commencing cross-examination.

           Any document that on its face appears to have been authored or prepared by an employee,

    officer, or agent of a party, or was produced from the files of a party, shall be deemed primafacie

    authentic under F.R.E.901 and 902,subject to the right ofthe party against whom such a document

    is offered to introduce evidence to the contrary. The parties reserve the right to add additional

    deposition designations to establish the foundation and authenticity of an exhibit to the extent the

    admissibility of a particular document is challenged.

           Legible or better quality copies may be offered and received in evidence in lieu of originals

    thereof, subject to all foundational requirements and other objections which might be made to the

    admissibility of such originals, and subject to the right ofthe party against whom they are offered

    to inspect an original upon request. The Parties may use electronic, native versions ofexhibits that

    are spreadsheets or slide presentations to the extent such documents were produced during

    discovery or otherwise agreed to by both parties.

           D. Procedures Regarding Deposition Testimony and Discovery Response

    Designations

           The parties are required to provide opposing counsel the identity of any deposition

    designations or designations of discovery responses and a list of any exhibits to be introduced

    along with those designations according to the schedule set forth above for disclosure of

    witnesses/exhibits. Objections and counter-designations to any such designations disclosed by a

    party will be provided according to the schedule set forth above for objections to exhibits. For

    deposition testimony, the party introducing the deposition testimony shall be responsible for

    editing the deposition testimony to include the testimony and any counter-designation testimony.
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    and remove any attorney objections, and provide a final version of the deposition testimony

    excerpts (testimony clip report) to the other party by 6:30 p.m. the day before the testimony is to

    be submitted, read or played to the Court. The parties will each designate one or more counsel

    who will meet and confer regarding any objections, including objections to any applicable counter-

    designations^, by 8:30 p.m. the same day that such objections are disclosed.
             The parties will cooperate in seeking to have the Court resolve any objections they are

    unable to resolve among themselves prior to the proposed testimony or presentation ofa discovery

    response. Each side is to provide the discovery response or deposition testimony excerpts of the

    specific portions ofthe deposition video(s) to be played or read, to opposing counsel and to the

    Court at the time each such designation is presented to Court.

             The parties agree that any counter-designations, to which the other party did not object or

    to which the Court overruled the objection, will be included in the designation of discovery

    responses or testimony clip report ofdeposition designations, and that passages oftestimony from

    a deposition will be presented chronologically. The parties further agree to withdraw any

    objections or attorney colloquy contained with the deposition designations by both sides to the

    extent possible. For allocating time between the parties for witnesses presented by deposition,

    witnesses presented by video or read testimony will be divided by the actual time for designations

    and counter-designations by each party. For witnesses presented by read testimony, the allocation

    of trial time will be determined by the ratio of deposition testimony lines designated by each party

    to the total number of lines read by that witness. No time will be allocated to the parties for

    deposition testimony submitted to the Court as an exhibit only, with no video or read testimony.

    Deposition summaries will be offered at trial as appropriate pursuant to Local Rule 30(G). All


    ^ The parties agreed not to serve objections to counter-designations as part ofthis pretria! order, and to raise
    necessary objections to such counter-designations at the time oftrial.
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    testimony clip reports for deposition testimony provided to the Court will be admitted as a trial

    exhibit. The parties' current deposition designations, objections, and counter-designations are

     attached as Exhibit D (Centripetal) and Exhibit E(Defendant). The parties' discovery responses

     designations, objections, and counter-designations are attached as Exhibit F (Centripetal) and

     Exhibit G (Defendant).

    III.    WITNESSES

            The parties agree that for current employees of a party, any such witness that such party

    expects to call in their case-in-chief will appear live by video. For those non-employee witnesses

     who will be called in a party's case-in-chief via deposition, the parties agree that any counter-

    designated testimony will be presented to the Court together with the designated deposition

    testimony, subject to the resolution of any objections to the designated or counter-designated

    testimony, as discussed above. The parties also agree that a party who wishes to call an employee

    ofthe other party as part of its case-in-chief can do so by deposition, regardless of the availability

    of that witness to testify live.

            A. Centripetal's Witnesses

            Centripetal expects to call the following witnesses at trial:

                                            Witness Name

                                             Dr. Eric Cole

                                           Mr. Chris Gibbs

                                         Dr. Michael Goodrich

                                         Mr. Lance Gunderson

                                           Dr. Trent Jaegar
                                        Mr. James Malackowski

                                         Dr. Alessandro Orso

                                        Dr. Nenad Medvidovic

                                       Dr. Michael Mitzenmacher



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                                        Dr. Sean Moore

                                      Mr. Jonathan Rogers
                                       Mr. Steven Rogers
                                       Dr. Aaron Striegel
                                      Dr. Ricardo Valerdi




          Centripetal may call the following witnesses at trial:

                                        Witness Name

                                      Sandeep Agrawal
                                          David Ahn

                                        Gregory Akers
                                          Sunil Amin

                                       Kerry Armistead
                                        Michael Auger
                                       Paul Barkworth

                                        Steven Boyles
                                      Petr Cernohorsky
                                         Haig Colter
                                       Patrick Crowley
                                      Douglas DiSabello
                                        Peter Geremia

                                        Jaroslav Gergic
                                      Christopher Gibbs
                                        Robert Gourley
                                       Anthony Grieco
                                       Robert Hamilton

                                         Bret Hartman

                                        Martin Hughes
                                          Peter Jones

                                       Timothy Keanini
                                       Danny Llewallyn


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                                       Pierre Mallett, III
                                        David McGrew

                                         Ken O'Reilly
                                          Jess Parnell

                                      Prasad Parthasarathi

                                          Manas Pati

                                        Robert T. Perry
                                   Saravanan Radhakrishnan

                                         Pavan Reddy
                                         Justin Rogers
                                        Michael Sheck

                                        David Scruggs
                                         Hari Shankar

                                     Karthik Subramanian

                                   Rajagopal Venkatraman
                                          Andy Vogel
                                       Matt Watchinski


          B. Cisco's Witnesses

          Cisco expects to call the following witnesses at trial:

                                             Witness Name


                                        Kevin Almeroth, Ph.D.

                                         Stephen Becker, Ph.D.

                                         Mark Crovella, Ph.D.

                                          Kevin Jeffay, Ph.D.

                                       Narasimha Reddy, Ph.D.

                                        Douglas Schmidt, Ph.D.


          Cisco may call the following witnesses at trial:


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                                   Witness Name

                                  Sandeep Argrawal

                                   Gregory Akers

                                     Sunil Amin

                                   Kerri Armistead

                                   Michael Auger

                                   Steven Boyles

                                 Matthew Brannigan

                                  Petr Cemohorsky

                                   Patrick Crowley

                                  Matthew Donnan

                                   Jaroslav Gergic

                                   Anthony Grieco

                                   Robert Hamilton

                                    Bret Hartman

                                    Martin Hughes

                                     Peter Jones


                                   Timothy Keanini

                                   Danny Llewallyn

                                   David McGrew

                                    Ken O'Reilly

                                   Chris O'Rourke

                                 Prasad Parthasarathi

                                      Manas Pati




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                                   Witness Name

                               Saravanan Radhakrishnan

                                    Pavan Reddy

                                   Michael Scheck

                                    David Scruggs

                                    Hari Shankar

                                 Karthik Subramanian

                                Rajagopal Venkatraman

                                     Andy Vogel

                                 Matthew Watchinski

                                     David Ahn

                                   Paul Barkworth

                                     Haig Colter

                                  Douglas DiSabello

                                    Peter Geremia

                                  Christopher Gibbs

                                   Robert Gourley

                                    Pierre Mallett

                                  Sean Moore, Ph.D.

                                     Jess Pamell

                                   Jonathan Rogers

                                    Justin Rogers

                                    Steven Rogers

                                      Scott Beer




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                                              Witness Name


                                       Kyle Petsch (Upland Software

                                    Steven Johnson (Ingate Systems,


    IV.    FACTUAL CONTENTIONS

           The parties agree that their submission on April 29, 2

    Findings of Fact and Conclusions of Law pursuant to the Court's March 12, 2020 Mlniite Entry

    sets forth a complete listing ofthe factual contentions and governing law for this bench trial. The

    absence of a factual contention on this list shall not constitute waiver and shall not preclude the

    admission of relevant evidence at trial. The factual contentions of the parties (in addition to the

    Stipulated Facts identified in Section I, above)are as follows:

           A. Centripetal's Factual Contentions

           1. Centripetal is a start-up company that was founded in 2009 by Steven Rogers.

           2. Since its founding, Centripetal has been involved in the research and development of

    award-winning computer network security technologies.

           3. The '205 Patent was conceived by October 11, 2010 and constructively reduced to

    practice on October 22, 2012.

           4. The '806 Patent was conceived by November 1, 2011 and constructively reduced to

    practice on January 11, 2013.

           5. The '193 Patent was conceived by January 16, 2012, and constructively reduced to

    practice on March 12, 2013.

           6. Starting in late 2014,Centripetal began selling a line of patented products and services

    known as RuleGATE and CleanlNTERNET, which it developed.



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            7. Centripetal's products and Asserted Patents are the result of Centripetal's extensive

    research and development in the field of network analysis and cyber security.

            8. Centripetal's products and services work inline and out-of-band.

            9. Centripetal has marked its products with the Asserted Patents since immediately after

    they issued.

            10. Centripetal's customers include banks, small and large enterprise customers, and

    government agencies including the U.S. Department of Homeland Security.

            11. Between 2015 and 2017, Centripetal and Cisco had several in-person and telephone

     meetings where Centripetal discussed confidential information about its patents, business,

     products, and provided live demonstrations of its products to Cisco, including at the Cisco LIVE

    conference in July 2016. During this period oftime, Cisco visited Centripetal's website hundreds

    oftimes, viewing pages regarding Centripetal's business and products.

            12. Centripetal and Cisco entered into a mutual non-disclosure agreement on January 26,

    2016 where each company agreed to maintain the confidentiality of information ofthe disclosing

     party and use such information solely for purposes of evaluating a potential partnership between

    the two companies. After the parties entered into the non-disclosure agreement. Centripetal

    disclosed highly sensitive confidential and proprietary information about its patented technology

    to Cisco.


            13. Cisco is a company in the industry that is not known to create innovative technology.

    Instead, Cisco either acquires technology or copies it from an innovator.

            14. Centripetal was led to believe by Cisco that Cisco was going to acquire or license

    Centripetal's patented technology. For this reason. Centripetal disclosed its confidential and

    proprietary technology under an NDA.



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            15. Cisco, instead of acquiring or licensing the technology, decided to copy Centripetal's

     patented technology.

            16. In this case. Centripetal asserts that Cisco infringes its patents by the use, manufacture,

     sale, offer for sale, and/or importation of three primary categories of products -certain Switches

     branded as Catalyst ("Catalyst Switches")^, certain Routers branded as Aggregation Services

     Router ("ASR") or Integration Services Router ("ISR") (collectively "Routers")'* and Cisco's

     NextGen Firewalls called        Adaptive Security Appliance and Firepower (collectively

    "ASA/Firepower").^

            17. At least one ofthese three categories of products are accused with other separate Cisco

     products and/or services for all the asserted patents except the '193 Patent. These other separate

     products and services are Cisco's Stealthwatch Enterprise ("Stealthwatch"),® Identity Services

     Engine ("ISE"), Digital Network Architecture ("DNA")' and Firepower Management Center

    ("FMC").®




     ^ Cisco's switches are Catalyst 9000 series switches, and specifically Catalyst 9300 series.
    Catalyst 9400 series, Catalyst 9500 series, and Catalyst 9800 series wireless controller, the
    switches which run software lOS-XE 16.5 and subsequent releases, and the controller that runs
    lOS-XE 16.10 and subsequent releases.
      Cisco's Routers are ASR 1000 series routers, ISR 1000 and 4000 series routers, which run
    software lOS-XE 16.5 and subsequent releases.
    ^ Cisco's ASA 5500 series with Firepower services that runs ASA software version 9.4 and
   subsequent releases, and Cisco's Firepower appliance series 1000, 2100,4100 and 9300, which
   run Firepower Threat Defense or"FTD"software version 6.0 and subsequent releases.
   'The accused Stealthwatch is capable of working with Cisco's Encrypted Traffic Analytics
   ("ETA")and/or Cognitive Threat Analytics("CTA")and CTA's Global Risk Map, all of which
    are components of Stealthwatch.
   'DNA includes Cisco's DNA Center Appliance and/or DNA services, both of which use SD-
     Access software.
    ® The accused FMC supports Cisco's Firepower Services software and FMC software version 6.0
    and subsequent releases, and hosts Cisco Threat Intelligence Director("TID").

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            18. Centripetal asserts that (i) Catalyst Switches and (ii) Routers infringe, literally and

    under the doctrine of equivalents, Claims 18 and 19 of the '193 Patent. Centripetal also asserts

    that Cisco induces infringement ofthese claims.

            19. Centripetal asserts that(i)Catalyst Switches with DNA,(ii) Routers with DNA and (ill)

    ASA/Firepower with FMC infringe, literally and under the doctrine ofequivalents. Claims 63 and

    77 of the '205 Patent and Claims 9 and 17 of the '806 Patent. Centripetal also asserts that Cisco

    induces infringement ofthese claims.

            20. Centripetal asserts that (i) Catalyst with Stealthwatch and ISE and (ii) Routers with

    Stealthwatch and ISE infringe, literally and under the doctrine ofequivalents. Claims 24 and 25 of

    the '856 Patent. Centripetal also asserts that Cisco induces infringement of these claims.

            21. Centripetal asserts that (i) Catalyst with Stealthwatch and (ii) Routers with

    Stealthwatch infringe, literally and under the doctrine of equivalents, Claims 11 and 21 ofthe '176

    Patent. Centripetal also asserts that Cisco induces infringement ofthese claims.

            22. The date of first infringement of the Asserted Claims for the '193 Patent is June 20,

    2017.


            23. The date of first infringement ofthe Asserted Claims for the'176 Patent is August 18,

    2017.


            24. The date of first infringement ofthe Asserted Claims for the '205 Patent and the '806

    Patent for Cisco's ASA/Firepower products with Firepower Management Center is October 23,

    2017.


            25. The date of first infringement of the Asserted Claims for the '205 and '806 Patent for

     Cisco's Catalyst Switches and Routers with Cisco's Digital Network Architecture is January 26,

    2018.




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            26. The date of first infringement of the Asserted Claims for the '856 Patent is March 13,

    2018. Cisco's infringement ofthe Asserted Patents has and continues to be willful and deliberate.

           27. The date of the hypothetical negotiation for the Asserted Patents is on or around June

    20,2017.

           28. Cisco's infringement ofCentripetal's patents has been willful, because Cisco's conduct

    rose to the level ofegregious and bad-faith behavior required for willful infringement.

           29. As a result of Cisco's infringement of the Asserted Patents, Cisco has been able to

    attract a number of customers and received revenues.

           30. At no point in time did Cisco redesign Cisco's Accused Products in an attempt to avoid

    infringement ofthe Asserted Patents.

           31. Cisco's accused products ASA/Firepower competes with Centripetal's RuleGATE and

    CleanlNTERNET products and services.

           32. There is an absence of available and acceptable non-infringing alternatives.

           33. Cisco fails to identify any purported products or non-patent references that qualify as

    prior art to the Asserted Patents.

           34. Cisco has not identified any prior art that anticipates or renders obvious Centripetal's

    Asserted Patents.


           35. The alleged prior art asserted by Cisco is cumulative of prior art that was considered

    by the Patent Office during the original prosecution of the Asserted Patents and/or Cisco's

    Petitions for IPR that were denied by the PTAB.

           36. Cisco used the best prior art in an attempt to invalidate the claims of the Asserted

    Patents for three ofthe patents asserted in this case. The threejudges at the PTAB determined that

    Cisco's best prior art did not rise to the level of instituting an IPR on the asserted claims, even



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    though the standard to institute an IPR is much lower than the clear and convincing standard

    required before a district court.

             37. For two of the Asserted Patents, Cisco was not able locate prior art to even prepare a

    good faith petition seeking institution of an IPR before the PTAB.

             38. Centripetal cannot fairly compete in the security industry against a company of Cisco's

    size that is using its patented technologies.

             39. Centripetal has suffered damages as a result of Cisco's infringement of the Asserted

    Patents and is entitled to an award of damages adequate to compensate it for Cisco's infringement.

             40. Centripetal is also entitled to a finding that this case is exceptional and an award of

    enhanced damages for past and continued willful conduct, as well as an award of interest, costs,

    attorneys' fees and any other relief the Court deems equitable and just.

             41. Cisco will continue its infringement of the Asserted Patents unless enjoined by this

    Court.


             42. If Cisco's infringement is not enjoined by this Court, Centripetal will suffer significant

    and irreparable harm as a result of Cisco's continuing infringement post-trial and continued willful

    infringement, particularly if Cisco is permitted to continue to compete with Centripetal using

    Centripetal's patented technology.

             43. Centripetal's ability to grow its sales and market share as a smaller business has been

    hampered by Cisco's intentional use and sale of Centripetal's patented technologies.

             44. The absence of an injunction would deeply impact Centripetal's business, but the

    issuance of one would have significantly less relative impact on Cisco's business.




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               45. The public would not be harmed by an injunction, because Centripetal could continue

    to fill the public's need for the patented inventions by scaling up its business under its current

    agreement with Dell regarding its platform to deliver the technologies to Cisco's customers.

               B. Defendant's Factual Contentions


               1.     Cisco was founded in 1984.

               2.     Cisco has sold network equipment for decades, including routers, switches,

    firewalls, and security equipment.

               3.     Cisco is a leader in network security. Cisco had already published many

    textbooks on cyber security before Centripetal was founded.

               4.     Cisco's yearly research and development expenditures have exceeded $5 billion

    per year for the last 10 years, and these efforts have resulted in Cisco being the owner of over

    15,000 U.S. patents, with over 800 U.S. patents in the network security space that are prior art to

    the patents-in-suit.

               5.     As part of its efforts to support emerging companies and emerging technologies,

    Cisco regularly invests in start-up companies, having invested in over 400 start-up companies

    over the last 20 years, and with such investments exceeding $2 billion in total.

               6.     Cisco is a key supplier of network equipment to the United States Government,

    including cyber security equipment used by the Department of Defense.

               7.     Cisco acquired a company called SourceFire in 2013. SourcePire was founded in

    2001, and it was the pioneer of"inline" network security systems, in which a device called a

    "gateway" uses rules (referred to as "Snort" rules) to filter each packet of incoming network

    traffic.




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            8.      SourceFire's pioneering "inline" technology filters traffic that attempts to enter a

     protected network through the gateway by applying approximately 10,000-20,000 "rules" to the

     packets at the gateway.

            9.      Centripetal's technology is also fundamentally about inspecting packets- on a

     packet-by-packet basis — at a gateway. Centripetal's technology is "inline" in that it filters the

     actual network packets, or a copy ofthose packets, at the same speed that the packets are arriving

     at the network. Although these general ideas were pioneered by SourceFire over a decade before

     Centripetal was founded. Centripetal invented ways to filter packets at a gateway using

     approximately 5 million rules, as opposed to just 10,000-20,000 rules(which is typical in the

     industry).

            10.     Over the last five years, Centripetal intentionally hired multiple employees away

    from SourceFire, including Centripetal's current VP of Sales.

            11.     For its part, SourceFire's "inline" products still use approximately 10,000-20,000

    rules, not the 5 million rules that characterize Centripetal's technology.

            12.     Centripetal's technology-embodied in its RuleGate product- has not met

    acceptance in the marketplace because ofthe perceived downsides in blocking packets using

    approximately 5 million rules in an "inline" packet filtering system, including the heightened

    chance of false positives, slow performance, and cost.

            13.     Centripetal's technology also has not succeeded in the marketplace because it

    offers a niche product {i.e., RuleGate), as opposed to a complete security solution that customers

    in this space are looking for.

            14.     Apart from "inline" packet-filtering systems, Cisco has developed other, different

    security products that monitor network traffic that has already entered into a protected network.



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    This category of products is referred to as "out-of-band" products(instead of"inline" products),

    and Cisco's accused out-of-band products are all based on a technology called NetFlow.

           15.     Cisco invented NetFlow in 1996. NetFlow is a description ofoverall traffic flows

    between devices (as opposed to looking at each individual packet, as an inline gateway would).

    Cisco supported its NetFlow technology becoming an industry standard in 2004.

           16.     Cisco's NetFlow-based out-of-band products include StealthWatch. Stealth Watch

    was developed by a company called Lancope prior to 2004, StealthWatch was packaged and sold

    with Cisco products at least as early as 2012, and then Cisco acquired Lancope in 2015.

           17.     StealthWatch uses NetFlow to detect malware that has entered the protected

    network by detecting anomalous traffic patterns.

           18.     Centripetal's founder, Steven Rogers, admitted that Centripetal's technology has

    nothing to do with NetFlow, yet Centripetal accuses Cisco's NetFlow-based out-of-band

    products of infringing its patents.

           19.     As part of Cisco's potential investments in startup companies, Cisco has a group

    of employees whose job is to evaluate such potential investments, and it is regularly solicited to

    make such investments.

           20.     Centripetal repeatedly solicited Cisco to make such an investment, and had

    several videoconference meetings with members of Cisco's investment team.

           21.     Cisco - like dozens of other major network security companies that Centripetal

    solicited for investment at the same time - decided against investing in Centripetal because Cisco

    believed that the idea of blocking packets at a gateway using 5 million rules would not be

    successful in the marketplace -a conclusion that has proven correct.




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           22.     While Centripetal generally alleges that Cisco "copied" something from

    Centripetal based on these meetings. Centripetal cannot identify anything specific that they

    disclosed to Cisco, much less something specific it disclosed to Cisco that it alleges Cisco now

    uses in the accused products.

           23.     Cisco's engineers(and its predecessors' engineers) Independently developed all

    ofthe accused products, whether at Cisco or at predecessor companies, with no reference to

    Centripetal, and certainly without the benefit of any confidential information from Centripetal.

    This is apparent in the facts that(1) none ofthe accused "inline" products have anything like the

    core functionality of Centripetal's technology, i.e., filtering packets using 5 million rules; and (2)

    the accused out-of-band products all use NetFlow, which has nothing to with Centripetal's

    technology.

           24.     The evidence shows that the Centripetal viewed Cisco as a role model for a

    company who had great technology and did things the right way. This is shown by the number

    of outreaches to Cisco,the hiring ofemployees from Sourcefire and/or Cisco, and the copying of

    Cisco product features when developing its RuleGate product.

           25.     In developing Centripetal's RuleGate product. Centripetal repeatedly copied from

    Cisco's and SourceFire's descriptions of their own products, confirmed in both Centripetal

    documents and the testimony of Centripetal's employees.

           26.     The accused products do not infringe Claims 11 and 21 ofthe'176 Patent for

    multiple reasons because they lack multiple limitations ofthe claims.

           27.     The functionality that Centripetal accuses in the accused products was present in

    the prior versions ofthose products sold by Lancope and Cisco prior to the effective filing date

    ofthe'176 patent.



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              28.   The accused products do not infringe Claims 63 and 77 of the '205 Patent for

     multiple reasons because they lack multiple limitations ofthe claims.

              29.   The functionality that Centripetal accuses in the accused products was present in

    the prior versions ofthose products sold under the "Sourcefire" brand more long prior to the

    filing ofthe '205 Patent.

              30.   In addition to invalidating the unasserted claims of the '205 Patent in IPRs, the

    USPTO recently determined that there was a substantial new question as to whether the Asserted

    Claims ofthe '205 Patent were valid, and thus agreed to re-examine them.

              31.   The accused products do not infringe Claims 18 and 19 of the'193 Patent for

     multiple reasons because they lack multiple limitations ofthe claims.

              32.   Substantively similar functionality that Centripetal accuses of infringement in the

    accused combination of accused Stealthwatch, ISE, and router and switch products was present

    in prior versions of combinations ofthose products described, used, and/or sold by Lancope and

    Cisco prior to the filing ofthe '193 Patent. The particular combination of packet-filtering rules

    that Centripetal accuses of infringement in the accused products was present in prior art products

    sold under the "Sourcefire" brand long prior to the filing ofthe'193 Patent.

              33.   The accused products do not infringe Claims 9 and 17 ofthe '806 Patent for

    multiple reasons because they lack multiple limitations ofthe claims.

              34.   The functionality that Centripetal accuses in the accused products was also

    present in the prior versions of those products sold by Cisco long prior to the filing of the '806

    Patent.


              35.   The accused products do not infringe Claims 24 and 25 ofthe '856 Patent for

    multiple reasons because they lack multiple limitations ofthe claims.



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              36.   Substantively similar functionality that Centripetal accuses of infringement in the

    accused combination of accused products was present in prior versions of combinations ofthose

    products described, used, and/or sold by Lancope and Cisco prior to the filing ofthe '856 patent.

              37.   Cisco and Centripetal do not compete in the marketplace. Centripetal's VP of

    Sales had never even heard of ETA or CTA,and cannot recall a single competitive sales

    situation involving StealthWatch.

              38.   To the extent the Court determines that one or more ofthe Asserted Claims is

    valid and infringed, the reasonable royalty should be determined based upon the incremental

    benefit that the patented invention adds to the specific system(s) that is found to infringe.

              39.   To the extent the Court determines that one or more of the Asserted Claims is

    valid and infringed. Centripetal is still not entitled to an injunction, as it will not suffer

    irreparable harm, but instead any injury can be remedied through monetary damages. Moreover,

    the public would be harmed because the accused products are used by the United States

    Government. For its part. Centripetal does not itself make products such as routers, switches, or

    firewalls.

    V.        TRIABLE ISSUES

              A.    The Triable Issues as Contended by Centripetal

                    1.      Whether Cisco directly infringes Claims 63 and 77 ofthe '205 Patent.

                    2.      Whether Cisco induces the infringement of Claims 63 and 77 of the '205

    Patent.


                    3.      Whether Cisco directly infringes Claims 18 and 19 ofthe'193 Patent.

                    4.      Whether Cisco induces the infringement of Claims 18 and 19 of the '193

    Patent.


                    5.      Whether Cisco directly infringes Claims 9 and 17 of the '806 Patent.

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                     6.     Whether Cisco induces the infringement of Claims 9 and 17 of the '806

     Patent.


                     7.     Whether Cisco directly infringes Claims 11 and 21 ofthe '176 Patent.

                     8.     Whether Cisco induces the infringement of Claims 11 and 21 of the '176

     Patent.


                     9.     Whether Cisco directly infringes Claims 24 and 25 ofthe '856 Patent.

                     10.    Whether Cisco induces the infringement of Claims 24 and 25 of the '856

     Patent.


                     11.    Whether Cisco's infringement has and continues to be willful.

                     12.    Whether Centripetal has suffered damages in an amount to be determined

     at trial as a direct and proximate cause of Cisco's direct and/or indirect infringement.

                     13.    What award of damages through trial should be awarded to Centripetal to

     compensate it for Defendants' direct and/or indirect infringement.'

                     14.    Whether the Court should enjoin Cisco's infringement from the entry of

    Judgment through the expiration ofthe Asserted Patents.

                     15.    Whether Centripetal has suffered irreparable harm as a result of Cisco's

     infringement.

                     16.    Whether the balance of hardships weighs in favor of granting an injunction

     on Cisco's Accused Products,

                     17.    Whether the public interest weighs in favor of granting an injunction.




   'Centripetal reserves its right to request an accounting of sales and revenue information for any
   award for past damages, including pre-Judgment and post-Judgment interest.

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                   18.    Whether Cisco's alleged prior art Ingate was known or used by others in the

     United States before the invention date ofthe '205 Patent, under 35 U.S.C. § 102(a)(pre-AIA).

                   19.    Whether Cisco's alleged prior art Ingate was in public use or on sale in the

     United States before October 22,2011, under 35 U.S.C. § 102(b)(pre-AIA).

                   20.    Whether the non-patent reference(s) Cisco relied on for its alleged prior art

    Ingate was a printed publication before October 22, 2011, under 35 U.S.C. § 102(b)(pre-AIA).

                   21.    Whether Cisco's alleged prior art ASA 5500 and alleged prior art Sourcefire

    3D were known or used by others in the United States prior art to the '205 Patent, under 35 U.S.C.

    § 102(a)(pre-AIA).

                   22.    Whether Cisco's alleged prior art ASA 5500 and alleged prior art Sourcefire

    3D were in public use or on sale in the United States before October 22,2011, under 35 U.S.C. §

     102(b)(pre-AIA).

                   23.    Whether the non-patent reference(s) Cisco relied on for its alleged prior art

    ASA 5500 and alleged prior art Sourcefire 3D was a printed publication before October 22,2011,

    under 35 U.S.C. § 102(b)(pre-AIA).

                   24.    Whether Cisco's alleged prior art Hitless ACL was known or used by others

    in the United States before the invention date of the '806 Patent, under 35 U.S.C. § 102(a)(pre-

    AIA).

                   25.    Whether Cisco's alleged prior art Hitless ACL was in public use or on sale

    in the United States before January 11,2012, under 35 U.S.C. § 102(b)(pre-AIA).

                   26.    Whether the non-patent reference(s) Cisco relied on for its alleged prior art

    Hitless ACL was a printed publication before January II, 2012, under 35 U.S.C. § 102(b)(pre-

    AIA).



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                   27.     Whether Cisco's alleged prior art ASA CX was known or used by others in

     the United States before the invention date ofthe '193 Patent, under 35 U.S.C.§ 102(a)(pre-AIA).

                   28.      Whether Cisco's alleged prior art ASA CX was in public use or on sale in

     the United States before March 12, 2012, under 35 U.S.C. § 102(b)(pre-AIA).

                   29.     Whether the non-patent reference(s) Cisco relied on for its alleged prior art

     ASA CX was a printed publication before March 12,2012, under 35 U.S.C. § 102(b)(pre-AIA).
                   30.     Whether Cisco's alleged prior art Sourcefire 3D was known or used by

     others in the United States before the invention date of the '193 Patent, under 35 U.S.C. § 102(a)

     (pre-AIA).

                   31.     Whether Cisco's alleged prior art Sourcefire 3D was in public use or on sale

     in the United States before March 12, 2012, under 35 U.S.C. § 102(b)(pre-AIA).

                    32.    Whether the non-patent reference(s) Cisco relied on for its alleged prior art
     Sourcefire 3D was a printed publication before March 12, 2012, under 35 U.S.C. § 102(b)(pre-
     AIA).

                    33.    Whether Cisco's alleged prior art Cyber Threat Defense was known or used

     by others in the United States before the invention date of the '193 Patent, under 35 U.S.C. §
     102(a)(pre-AIA).

                    34.    Whether Cisco's alleged prior art Cyber Threat Defense was in public use

     or on sale in the United States before March 12,2012, under 35 U.S.C. § 102(b)(pre-AIA).

                    35.     Whether the non-patent reference(s) Cisco relied on for its alleged prior art

     Cyber Threat Defense was a printed publication before March 12,2012, under 35 U.S.C. § 102(b)
     (pre-AIA).




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                   36.     Whether Cisco's alleged prior art Stealthwatch system and alleged prior art

     Cognitive system were in public use,on sale, or otherwise available to the public before February

     10,2015 under 35 U.S.C. § 102(a)(1)(AIA).

                   37.     Whether the non-patent reference(s) Cisco relied on for its alleged prior art

     Stealthwatch system and alleged prior art Cognitive system was a printed publication before

     February 10,2015 under 35 U.S.C. § 102(a)(1)(AIA).

                   38.     Whether Cisco's alleged prior art ASA CX was in public use, on sale, or

     otherwise available to the public before December 23,2015 under 35 U.S.C. § 102(a)(1)(AIA).

                   39.     Whether the non-patent reference(s) Cisco relied on for its alleged prior art

     ASA CX was a printed publication before December 23,2015 under 35 U.S.C.§ 102(a)(1)(AIA).

                   40.     Whether Cisco's alleged prior art Stealthwatch system was in public use, on

     sale, or otherwise available to the public before December 23, 2015 under 35 U.S.C. § 102(a)(1)

    (AIA).

                   41.     Whether the non-patent reference(s) Cisco relied on for its alleged prior art

     Stealthwatch system was a printed publication before December 23, 2015 under 35 U.S.C. §

     102(a)(1)(AIA).

                   42.     Whether Cisco's alleged SourceFire SSL Appliance System is prior art to

     the '856 Patent under 35 U.S.C. § 102(a)(1)(AIA).

                   43.     Whether Cisco's alleged prior art SourceFire SSL Appliance System was in

     public use, on sale, or otherwise available to the public before December 23,2015 under 35 U.S.C.

     § 102(a)(1)(AIA).




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                   44.     Whether the non-patent reference(s) Cisco relied on for its alleged prior art

     SourceFire SSL Appliance System was a printed publication before December 23,2015 under 35
     U.S.C.§ 102(a)(1)(MA).

            B.      The Triable Issues as Contended by Defendant

                   6.      Whether Cisco directly infringes Claims 63 and 77 ofthe '205 Patent.

                    7.      Whether Cisco directly infringes Claims 18 and 19 ofthe'193 Patent.

                    8.      Whether Cisco directly infringes Claims 9 and 17 of the '806 Patent.

                    9.      Whether Cisco directly infringes Claims 11 and 21 of the '176 Patent.

                    10.     Whether Cisco directly infringes Claims 24 and 25 ofthe '856 Patent.

                    11.     Whether the asserted claims ofthe '205 Patent are invalid under 35 U.S.C.

     § 102 based on anticipation by the prior art.

                    12.     Whether the asserted claims of the '205 Patent are invalid under 35 U.S.C.

     § 103 based on obviousness in view ofthe prior art.

                    13.     Whether the asserted claims ofthe'193 Patent are invalid under 35 U.S.C.

     § 102 based on anticipation by the prior art.

                    14.     Whether the asserted claims of the '193 Patent are invalid under 35 U.S.C.

     § 103 based on obviousness in view ofthe prior art.

                    15.     Whether the asserted claims ofthe '806 Patent are invalid under 35 U.S.C.

     § 102 based on anticipation by the prior art.

                    16.     Whether the asserted claims ofthe '806 Patent are invalid under 35 U.S.C.

     § 103 based on obviousness in view ofthe prior art.




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                    17.     Whether the asserted claims ofthe '806 Patent are Invalid under 35 U.S.C.

     § 112 based on a lack of written description support for the claim scope asserted for infringement

     purposes by Centripetal.

                    18.     Whether the asserted claims of the'176 Patent are invalid under 35 U.S.C.

     § 102 based on anticipation by the prior art.

                    19.     Whether the asserted claims ofthe'176 Patent are invalid under 35 U.S.C.

     § 103 based on obviousness in view ofthe prior art.

                    20.     Whether the asserted claims ofthe'176 Patent are invalid under 35 U.S.C.

     § 112 based on a lack of written description support for the claim scope asserted for infringement

     purposes by Centripetal.

                    21.     Whether the asserted claims of the '856 Patent are invalid under 35 U.S.C.

     § 102 based on anticipation by the prior art.

                    22.     Whether the asserted claims of the '856 Patent are invalid under 35 U.S.C.

     § 103 based on obviousness in view ofthe prior art.

                    23.     Whether the asserted claims ofthe '856 Patent are invalid under 35 U.S.C.

     § 112 based on a lack of written description support for the claim scope asserted for infringement

     purposes by Centripetal.

                    24.     If Defendant is found to infringe a valid claim of any of the Asserted

     Patents, whether such infringement is willful.

                    25.     If Defendant is found to infringe a valid claim of any of the Asserted

     Patents, whether, and to what extent. Centripetal is entitled to damages.

                    26.     If Defendant is found to infringe a valid claim of any of the Asserted

     Patents, whether,and to what extent, Centripetal is entitled to injunctive relief.



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     VI.     MISCELLANEOUS

             A.      Centripetal's Outstanding Issues

                           1.     Centripetal's Motion for Summary Judgment(Dkt. No. 287)

                           2.     Centripetal's Pending Motions in Limine(Dkt. No.213)

             The following Motions in Limine("MIL")are pending before the Court:

             MIL No. I: Preclude Defendant Cisco From Presenting Evidence or Argument that It

     Does Not Infringe the Asserted Patents Because They Are Purportedly Invalid.

             MIL No.4: Preclusion oftestimony, evidence and expert opinions Defendant did not

    timely disclose or make available during discovery, including several ofthe witnesses in Cisco's

     witness list.

             MIL No.6: Preclude testimony or evidence regarding invalidity allegations or

    combination of prior art that Defendant did not disclose in its invalidity interrogatory responses.

             B.      Cisco's Outstanding Issues

                           1.     Cisco's Pending Daubert Motions

            The following Daubert motions are pending before the Court:

             Dkt. No. 229: Motion to Exclude the Opinions of Mr. Lance Gunderson;

             Dkt. No. 236: Motion to Exclude the Testimony of Centripetal's Experts Regarding

    Alleged Prior Knowledge and Alleged Copying of Centripetal's Technology, Products and

    Patents;

            Dkt. No. 242: Motion to Exclude the Opinions of Drs. Michael T. Goodrich and Ricardo

    Valerdi;

            Dkt. No. 270: Motion to Exclude the Apportionment-Related Opinions of Dr. Aaron

    Striegel and the Related Royalty Base Opinions of Mr. Lance Gunderson.

                           2.     Cisco's Pending Motions m Limine

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          The following Motions in Limine("MIL")are pending before the Court(Dkt. No. 208):
          MIL No. I: Centripetal may not introduce evidence or argument regarding its prior
          litigation with Keysight/Ixia and may not reference or rely upon the Binding Term Sheet
          entered into with Keysight/Ixia mid-trial to justify its reasonable royalty analysis in this
          case.



          MIL No. 3: Centripetal may not introduce evidence or argument regarding information
          obtained from LeadLander and may not reference or rely upon information from

          LeadLander to suggest that Cisco or any employee of Cisco visited Centripetal's website
          for the purpose of copying Centripetal's technology or patents.

          MIL No.7: The Court should preclude Centripetal from offering any testimony,

          argument, or opinions that it is "facing what appears to be copycats of Cisco" or that
          other third parties allegedly infringe its patents.


                         3.       Cisco's Pending Motion for Summary Judgment(Dkt. No.255)

                          4.      Cisco's Fending Motion Opposing Trial Entirely by

                                  Videoconference(Dkt. No.387)




          This Joint Pre-Trial Order is hereby approved thisi^^day of April,2020.

                                                                                     /s/

                                                                 Henty Cftke Morgan,Jr.
                                                                 Seaioi United States District Judge
                                                          Entered
                                                                 Henry Coke Morgan, Jr.
                                                                 Senior United States Distncx Judge
                                                                 United States District Judge




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     WE ASK FOR THIS:

     Dated: April 21, 2020                   Respectfully submitted,

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